                                          May 16, 2019

FILED VIA ECF

Honorable Judge Nicholas G. Garaufis
United States District Court for the Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               RE:     Puleo v. NIBCO Inc., No. 2:18-cv-05555 (E.D.N.Y)
                       Request for Extension of Time

Dear Judge Garaufis:

        Pursuant to your Honor’s Individual Motion Practice and Rules II.E, and on behalf of
Plaintiff Cesare Puleo, I write to request a 4-day extension of Plaintiff’s time to oppose
Defendant’s Motion to Dismiss. Absent an extension, Plaintiff’s opposition to the Motion would
be due May 20, 2019. See ECF No. 15. Plaintiff asks that this deadline be extended to May 24,
2019, and that in response Defendant’s time to reply in support of its Motion be extended from
June 10, 2019 to June 17, 2019. Oral argument on the Motion is currently scheduled for July 23,
2019 at 1:30 PM. See id.

        This is Plaintiff’s first request for an extension. Counsel for Defendant has consented to
this request. Plaintiff does not believe this extension would necessitate the modification of other
scheduled dates.




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                                 Respectfully submitted,

                                 By: /s/ Jason P. Sultzer
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CC: Counsel of Record (by ECF)




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